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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                 )
                                        )
                  Plaintiff,            )
                                        )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)
                                       )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                             ORDER

          In accordance with the Memorandum Opinion issued on this same date, it is hereby

          ORDERED that the Department of Justice’s Motion for Summary Judgment in Leopold

v. Department of Justice and Partial Summary Judgment in Electronic Privacy Information

Center v. Department of Justice, ECF No. 54, is DENIED WITHOUT PREJUDICE. It is

further

          ORDERED that the Plaintiff’s Combined Opposition to Defendant’s Motion for Partial

Summary Judgment, Cross-Motion for Partial Summary Judgment, and Motion for In Camera
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Review of the “Mueller Report[,]” ECF No. 71, is GRANTED IN PART AND DENIED

WITHOUT PREJUDICE IN PART. The motion is GRANTED to the extent it seeks in

camera review of the unredacted version of the Mueller Report. The motion is DENIED

WITHOUT PREJUDICE in all other respects. It is further

        ORDERED that Plaintiffs Jason Leopold’s and Buzzfeed Inc.’s Motion for Summary

Judgment, ECF No. 73, is GRANTED IN PART AND DENIED WITHOUT PREJUDICE

IN PART. The motion is GRANTED to the extent it seeks in camera review of the unredacted

version of the Mueller Report. The motion is DENIED WITHOUT PREJUDICE in all other

respects. It is further

        ORDERED that, on or before March 30, 2020, the United States Department of Justice

shall submit the unredacted version of the Mueller Report to the Court for its in camera review.

        SO ORDERED this 5th day of March, 2020.



                                                            REGGIE B. WALTON
                                                            United States District Judge




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